    Case: 1:18-cv-01489 Document #: 17 Filed: 05/07/18 Page 1 of 2 PageID #:755




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS


                                                          Civil Action No. 1:18-cv-01489
MIDAMINES SPRL LTD. (Ill. Corp.),
                                                              Honorable Sharon J. Coleman
                        Plaintiff,
                                                      DECLARATION OF ALVIN LEE IN
               -against-                                SUPPORT OF DEFENDANTS’
                                                        MOTION FOR A FILING BAR
KBC BANK N.V. and                                             SANCTION
KBC GROUP N.V.,

                      Defendants.




I, ALVIN LEE, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.   I am an attorney with the law firm of Orrick, Herrington & Sutcliffe LLP, counsel

for Defendants KBC Bank N.V. and KBC Group N.V. in this matter. I submit this Declaration

in support of Defendants’ Motion for a Filing Bar Sanction.

         2.   Attached hereto as Exhibit 1 are copies of the Motion for Summary Judgment In

Lieu of Complaint and accompanying papers, Midamines SPRL Ltd., et al. v. KBC Bank NV,

Index No. 100383/2015 (N.Y. Sup. Ct. Mar. 5, 2015).

         3.   Attached hereto as Exhibit 2 is a copy of the Transcript of the Proceedings,

Midamines SPRL Ltd., et al. v. KBC Bank NV, Index No. 100383/2015 (N.Y. Sup. Ct. Feb. 5,

2016).

         4.   Attached hereto as Exhibit 3 is a copy of the September 20, 2016 letter sent by

Hassan A. Abbas to Defendants’ counsel.

         5.   Attached hereto as Exhibit 4 is a copy of the January 18, 2018 email sent by

Hassan A. Abbas to Defendants’ counsel.

                                               1
    Case: 1:18-cv-01489 Document #: 17 Filed: 05/07/18 Page 2 of 2 PageID #:755




       6.      Attached hereto as Exhibit 5 is a copy of the February 19, 2018 email sent by

Hassan A. Abbas to Defendants’ counsel.

       7.      Attached hereto as Exhibit 6 is a copy of Hassan A. Abbas and Midamines SPRL

Ltd.’s Petition for a Writ of Certiorari, filed with the Supreme Court of the United States on

April 30, 2018.



I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 7, 2018
              New York, NY


                                                      ___/s/ Alvin Lee _____
                                                             Alvin Lee




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